PUM UUM cele ue Lieyam Come (alt Aa i \-Wor- tot
United States Bankruptcy Court for the:

WESTERN

District of WASHINGTON
(State)

Case number (if known): Chapter 11

Q) Check if this is an
amended filing

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy 06/24

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a Separate document, instructions for Bankruptcy Forms for Non-individuals, is available.

1. Debtor’s name SQRENTO ON YESLER OWNER LLC

2. All other names debtor used

in the last 8 years

Include any assumed names,

trade names, and doing business

as names

3. Debtor’s federal Employer 8 8B 26
Identification Number (EIN) 9=—>-  —— oer.

4. Debtor’s address Principal place of business Mailing address, if different from principal place
of business
1414 E YESLER WAY
Number Street Number Street
1123
P.O. Box
SEATTLE WA 98122 MERCER ISLAND WA 98040-1123
City State ZIP Code City State ZIP Code

Location of principal assets, if different from
principal place of business
KING

Number Street

City State ZIP Code

5. Debtor’s website (URL)

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Debtor SORENTO ON YESL

ER OWNER LLC Case number (if known),

6. Type of debtor

7. Describe debtor’s business

i Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
U) Partnership (excluding LLP)

OQ) Other. Specify:

A. Check one:

O) Health Care Business (as defined in 11 U.S.C. § 101(27A))

{ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
U) Railroad (as defined in 11 U.S.C. § 101(44))

C) Stockbroker (as defined in 11 U.S.C. § 101(53A))

QO) Gommodity Broker (as defined in 11 U.S.C. § 101(6))

Od learing Bank (as defined in 11 U.S.C. § 781(3))

U) None of the above

B. Check all that apply:

O ‘Tjax-exempt entity (as described in 26 U.S.C. § 501)

C) investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.

§ 80a-3)

C) investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4- digit code that best describes debtor. See
od

ittp://www.uscourts.gov/four-digit-national

8. Under which chapter of the
Bankruptcy Code is the
debtor filing?

tk one:

C) Ghapter 7
Od hapter 9
Wd hapter 11. Check all that apply:

U Debtors aggregate noncontingent liquidated debts (excluding debts owed to
insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
4/01/25 and every 3 years after that).

CI) The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
debtor is a small business debtor, attach the most recent balance sheet, statement
of operations, cash-flow statement, and federal income tax return or if all of these
documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

Othe debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
chooses to proceed under Subchapter V of Chapter 11.
QA plan is being filed with this petition.

QO Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

CJ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

C) The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule

12b-2.
UO) Ghapter 12
9. Were prior bankruptcy cases {JZ No
filed by or against the debtor
within the last 8 years? O) Yes. District When Case number
MM/ DD/YYYY
If more than 2 cases, attach a ee b
separate list. District When Case number
MM/ DD/YYYY
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Debtor SORENTO ON YESLER

OWNER LLC

Case number (if known)

Name

10. Are any bankruptcy cases
pending or being filed by a
business partner or an
affiliate of the debtor?

List all cases. If more than 1,
attach a separate list.

W No

Ci Yes. Debtor Relationship

District When

MM / DD /YYYY
Case number, if known

11. Why is the case filed in this
district?

Cheek all that apply:

W Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days

OA

immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district.

bankruptcy case conceming debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or have
possession of any real
property or personal property
that needs immediate
attention?

{d No

(C1 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.

Why does the property need immediate attention? (Check aif that apply.)

Ot poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

C1 itneeds to be physically secured or protected from the weather.

CO It includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
assets or other options).

QO) other

Where is the property?

Number Street

City State ZIP Code

Is the property insured?

O) No

C1 Yes. Insurance agency

Contact name

Phone

aes Statistical and administrativ

ie information

13. Debtor's estimation of
available funds

Cheq

k one:

Funds will be available for distribution to unsecured creditors.

QO) After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

i 149 Q) 1,000-5,000 () 25,001-50,000
4 ee number of OQ) 50-99 C) 5,001-10,000 Q) 50,001-100,000
SaScliet Q) 400-199 CQ) 10,001-25,000 O) More than 100,000
UI 200-999
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per SORENTO ON YESLER QWNER LLC Eacairumnbés: dios
Estimated ; Q pone Q) $1,000,001-$10 million (2) $500,000,001-$1 billion
15. Estimated assets C2) $50,001-$100,000 {2 $10,000,001-$50 million Q) $1,000,000,001-$10 billion
OQ) $100,001-$500,000 (2 $50,000,001-$100 million Q $10,000,000,001-$50 billion
QO) $500,001-$1 million UO $100,000,001-$500 million QO) More than $50 billion
Chi ais@aUBEts OQ) $0-$50,000 (2 $1,000,001-$10 million C2) $500,000,001-$1 billion
16. Estimated liabilities ( $50,001-$100,000 {Z $10,000,001-$50 million Q) $1,000,000,001-$10 billion
Q) $100,001-$500,000 (2 $50,000,001-$100 million (2 $10,000,000,001-$50 billion
C2) $500,001-$1 million C) $100,000,001-$500 million OQ) More than $50 billion

ae for Relief, Declaration, and Signatures

WARNING - Bankruptcy fraud is a serious clime. Making a false statement in connection with a bankruptcy case can result in fines up to

$500,000 or imprisonment for ul

17. Declaration and signature of
authorized representative of
debtor

1
F

I
q

P to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

he debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this

petition.

have been authorized to file this petition on behalf of the debtor.

have examined the information in this petition and have a reasonable belief that the information is true and

rorrect.

| declare under penalty of perjury that the foregoing is true and correct.

&

x

kecuted on

12/18/2024
MM /DD /YYYY

BOGDAN MAKSIMCHUK

Printed name

/S/ Bogdan Maksimchuk

ignature of authorized representative of debtor

tle MANAGING MEMBER OF SOLE EQUITY HOLDER

18. Signature of attorney

x

/s/ Christopher L. Young Date 12/18/2024

Signature of attorney for debtor

MM /DD /YYYY

CHRISTOPHER L. YOUNG

Printed name
LAW OFFICES OF CHRISTOPHER L. YOUNG PLLC
Firm name
92 LENORA #146
Number Street
SEATTLE WA 98121
City State ZIP Code
206) 407-5829 chris@christopherlyoung.com
Contact phone Email address
47977 WA
Bar number State
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CORPORATE OWNERSHIP STATEMENT

Sorento on Yesler LLC, a Washington limited liability company, owns 100% of Sorento on
Yesler Owner LLC’s equity] interests.

Dated: December 18, 2024 by: /s/ Bogdan Maksimchuk
Sorento on Yesler, LLC, Managing Member

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SORENTO ON YESLER OWNER, LLC
CONSENT IN LIEU OF MEMBER’S MEETING

In lieu of a meeting of equity holders of the company, the undersigned, being the sole equity holder
of the company, does hereby consent to the following action and by this writing does approve,
adopt and ratify the following resolutions as the action of the equity holder:

IT IS HEREBY RESOLVED, that the filing of a voluntary chapter 11 petition
under title 11 of the [United States Code is in the best interests of the company, its
equity holder, and its creditors; and it is further

RESOLVED, that the company is authorized to file a voluntary chapter 11 petition
under title 11 of the United States Code; and it is further

RESOLVED, that |the company is authorized to retain the Law Offices of
Christopher L. Young PLLC to prepare and file its voluntary chapter 11 petition,
and to represent the company as general bankruptcy counsel.

DATED this 18th day of December 2024.
MEMBER:
Sorento on Yesler, LLC, a Washington

limited liability company

/s/ Bogdan Maksimchuk
Bogdan Maksimchuk, Managing
Member

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